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 5   Attorney for Defendant,
 6   AMRITPAL P. SINGH

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 8
                               IN THE UNITED STATES DISTRICT COURT
 9
                           EASTERN DISTRICT OF CALIFORNIA, FRESNO
10
                                              *****
11
12
     UNITED STATES OF AMERICA,                 ) Case No.: CR-F-04-5356 AWI
13                                             )
                  Plaintiff,                   ) ORDER FOR RETURN OF PASSPORT
14         vs.                                 )
15                                             )
     AMRITPAL P. SINGH,                        )
16                                             )
17                                             )
                  Defendant.
                                               )
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19
20
21         The above-named defendant having been sentenced and the legal proceedings having been

22   completed on June 1, 2009;
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24
                  IT IS HEREBY ORDERED that the Passport posted in this matter on
25
26         December 7, 2004 (Docket No. 26) be returned to defendant AMRITPAL P. SINGH's

27
28
              Case 1:04-cr-05356-AWI Document 572 Filed 06/19/09 Page 2 of 2


 1       attorney of record, Anthony P. Capozzi of the Law Offices of Anthony P. Capozzi,

 2
         1233 W. Shaw Avenue, Suite 102, Fresno, California 93711.
 3
                        Passport No.: A200134
 4
 5                      Receipt No.: 100 200696

 6
 7
                                             ORDER
 8
 9
10
11
12   IT IS SO ORDERED.
13
14   Dated:     June 17, 2009                               /s/ Anthony W. Ishii
15                                                0m8i78
16                                                CHIEF UNITED STATES DISTRICT
17                                                JUDGE

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